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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In                                                            Chapter 7

JEVIC HOLDING CORP., et al., 1
                                                              Case No. 08-11006 (BLS)
                             Debtors.                         (Jointly Administered)


THE CIT GROUP/BUSINESS CREDIT, INC., as agent
for itself and the Lender Group,

                 v.

JEVIC HOLDING CORP.; JEVIC
TRANSPORTATION, INC.; CREEK ROAD
PROPERTIES, LLC; GEORGE L. MILLER, solely in                  Adv. Pro. No. 19-50256 (BLS)
his capacity as Chapter 7 Trustee of the bankruptcy
estates of Jevic Holding Corp., et al.; THE
GOODYEAR TIRE & RUBBER CO.; ACTION
CALENDAR & SPECIALTY CO., INC.; IRVING OIL
CORPORATION; HARTFORD FIRE INSURANCE
COMPANY; THE ILLUMINATING COMPANY;
PITNEY BOWES GLOBAL FINANCIAL SERVICES,
LLC; WILLIAMS SCOTSMAN, INC.; SUNGARD
AVAILABILITY SERVICES LP; PACHULSKI
STANG ZIEHL & JONES LLP; MORRIS
ANDERSON & ASSOCIATES; and KLEHR,
HARRISON, HARVEY, BRANZBURG & ELLERS
LLP,
                                                              Hearing Date: June 17, 2020
                             Defendants.                      Time:         10:00 a.m.
                                                              Response Deadline: May 15, 2020

    PACHULSKI STANG ZIEHL & JONES’ MOTION TO DISMISS COMPLAINT FOR
          FAILURE TO STATE A CLAIM PURSUANT TO F.R.C.P. 12(b)(6)

                 Pursuant to Federal Rule of Civil Procedure 12(b)(6), made applicable to this

adversary proceeding by Federal Rule of Bankruptcy Procedure 7012, Pachulski Stang Ziehl &


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  The Debtors in this Chapter 11 case, along with the last four digits of the Debtors’ federal tax
identification numbers are: Jevic Holding Corp. (8738); Creek Road Properties, LLC (9874); and Jevic
Transportation, Inc. (3402).


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Jones LLP (“PSZJ”), hereby respectfully moves this Court for entry of an order, substantially in

the form attached hereto, dismissing with prejudice the Complaint for (I) Declaratory Relief and

(II) Restitution of Certain Funds Distributed Under Vacated Approval Order [Adv. D.I. 1] (the

“Complaint”), filed by the plaintiff the CIT Group/Business Credit, Inc. (“CIT”), for failing to

state a legally plausible claim for relief (the “Motion to Dismiss”). In support of the Motion to

Dismiss, PSZJ has contemporaneously filed, and incorporates herein by reference, the

Memorandum of Points and Authorities in Support of Pachulski Stang Ziehl & Jones’ Motion to

Dismiss Complaint for Failure to State A Claim Pursuant to F.R.C.P. 12(b)(6) (the

“Memorandum of Law”).

                              LOCAL RULE 7012-1 STATEMENT

                 Pursuant to Rule 7012-1 of the Local Rules for the United States Bankruptcy

Court for the District of Delaware, PSZJ hereby consents to the entry of a final order or judgment

by this Court in this adversary proceeding if it is determined that the Court, absent consent of the

parties, cannot enter a final order or judgment consistent with Article III of the United States

Constitution.

                 WHEREFORE, for all the reasons set forth herein and in the accompanying

Memorandum of Law, PSZJ respectfully requests that the Court enter an order, substantially in

the form attached hereto, (a) granting the Motion to Dismiss, (b) dismissing the Complaint with

prejudice, and (c) granting such other and further relief as the Court deems just and appropriate.




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Dated: April 24, 2020                PACHULSKI STANG ZIEHL & JONES LLP

                                     /s/ Bradford J. Sandler
                                     Robert J. Feinstein (admitted pro hac vice)
                                     Braford J. Sandler (DE Bar No. 4142)
                                     John A. Morris (admitted pro hac vice)
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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In                                                            Chapter 7

JEVIC HOLDING CORP., et al., 2
                                                              Case No. 08-11006 (BLS)
                             Debtors.                         (Jointly Administered)


THE CIT GROUP/BUSINESS CREDIT, INC., as agent
for itself and the Lender Group,

                 v.

JEVIC HOLDING CORP.; JEVIC
TRANSPORTATION, INC.; CREEK ROAD
PROPERTIES, LLC; GEORGE L. MILLER, solely in                  Adv. Pro. No. 19-50256 (BLS)
his capacity as Chapter 7 Trustee of the bankruptcy
estates of Jevic Holding Corp., et al.; THE
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CORPORATION; HARTFORD FIRE INSURANCE
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PITNEY BOWES GLOBAL FINANCIAL SERVICES,
LLC; WILLIAMS SCOTSMAN, INC.; SUNGARD
AVAILABILITY SERVICES LP; PACHULSKI
STANG ZIEHL & JONES LLP; MORRIS
ANDERSON & ASSOCIATES; and KLEHR,
HARRISON, HARVEY, BRANZBURG & ELLERS
LLP,

                             Defendants.


            ORDER GRANTING MOTION OF PSZJ TO DISMISS COMPLAINT

                 This matter having come before the Court on Pachulski Stang Ziehl & Jones’

Motion to Dismiss Complaint for Failure to State A Claim Pursuant to F.R.C.P. 12(b)(6) (the

“Motion to Dismiss”); the Court having reviewed the Motion to Dismiss and the accompanying

2
  The Debtors in this Chapter 11 case, along with the last four digits of the Debtors’ federal tax
identification numbers are: Jevic Holding Corp. (8738); Creek Road Properties, LLC (9874); and Jevic
Transportation, Inc. (3402).


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Memorandum of Law3; and the Court having jurisdiction to consider the Motion to Dismiss and

the relief requested therein pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing

Order of Reference from the United States District Court for the District of Delaware dated as of

February 29, 2012; and consideration of the Motion to Dismiss and the relief requested therein

being a core proceeding pursuant to 28 U.S.C. § 157(b); and venue being proper before this

Court pursuant to 28 U.S.C. §§ 1408 and 1409; and due and proper notice of the Motion to

Dismiss having been provided under the particular circumstances; and the Court having

considered the relief requested therein and any opposition thereto; and the Court finding good

and sufficient cause appearing therefore,

                   IT IS HEREBY ORDERED that:

          1.       The Motion is GRANTED.

          2.       The Complaint is DISMISSED WITH PREJUDICE.

          3.       This Court shall retain jurisdiction with respect to all matters arising from or

relating to the implementation of this Order.




Dated: ________________________, 2020                           _________________________________
                                                                The Honorable Brendan L. Shannon
                                                                United States Bankruptcy Judge




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    Capitalized terms not otherwise defined herein shall have the meanings ascribed to them in the Motion to Dismiss.


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